902 F.2d 28Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leslie A. FITCH, Petitioner-Appellant,v.Jerry C. HEDRICK, Warden, West Virginia Penitentiary,Respondent-Appellee.
    No. 89-7829.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 18, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.  John T. Copenhaver, Jr., District Judge.  (C/A No. 88-1131)
      Leslie A. Fitch, appellant pro se.
      Silas Bent Taylor, Brenda Craig Ellis, Office of the Attorney General of West Virginia, Charleston, W.Va., for appellee.
      S.D.W.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leslie A. Fitch seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Fitch v. Hedrick, C/A No. 88-1131 (S.D.W.Va. Sept. 15, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    